
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-003-CV





IN RE GABRIEL EMILIO CUAUHTLI	RELATOR







------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

PER CURIAM





PANEL B: &nbsp;HOLMAN, LIVINGSTON, and DAUPHINOT, JJ.



DELIVERED: &nbsp;January 11, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




